     Case: 1:22-cv-01048 Document #: 27 Filed: 05/12/23 Page 1 of 1 PageID #:84

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

Susan Phillips, et al.
                                      Plaintiff,
v.                                                       Case No.: 1:22−cv−01048
                                                         Honorable Andrea R. Wood
The United States of America
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, May 12, 2023:


        MINUTE entry before the Honorable Jeffrey Cummings: The Court has reviewed
the parties' settlement letters. This matter is set for an off−the−record telephonic status
conference on 5/17/23 at 10:30 a.m. to discuss whether it will be productive to proceed
with the scheduled settlement conference on 5/23/23 given the parties' widely divergent
views on the settlement value of plaintiff's claims. The parties are further ordered to meet
and confer prior to the status conference regarding the realistic prospects of settling this
case at the upcoming settlement conference. The Court's staff will provide counsel for the
parties with the dial−in information. Mailed notice(cc, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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